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14                        IN THE UNITED STATES DISTRICT COURT
15                               FOR THE DISTRICT OF ARIZONA
16
     United States of America,                                No. CR-18-422-PHX-SM B
17
                           Plaintiff,                  UNITED STATES’ SUPPLEMENTAL
18                                                      NOTICE OF INTENT TO OFFER
              v.                                      BUSINESS RECORDS PURSUANT TO
19                                                      FEDERAL RULE OF EVIDENCE
                                                                  902(11)
20   Michael Lacey, et al.,
21                         Defendants.
22          Pursuant to Federal Rule of Evidence 902(11), the United States submits this
23   supplemental notice of its intent to use written certifications of business records in lieu of
24   live testimony by record custodians at trial. On February 14, 2020, the United States filed
25   a notice that attached as Exhibit A a table that contained a list of certifications identified
26   by subpoena number, financial institution, Bates number, and BEGDOC, which can be
27   used to locate the document in Relativity. (Doc. 889-1.) Today, the government files a
28   supplemental table that provides additional certifications identified in the same manner.
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 1   These certifications have all been previously disclosed to Defendants. In the interest of
 2   efficiency, the identified certifications will be used in lieu of live testimony.
 3          These certifications will also serve as the basis for a proposed stipulation to the
 4   admission of these records or a motion for a pretrial ruling by this Court pursuant to Federal
 5   Rule of Evidence 104(a), (b).
 6          Respectfully submitted this 11th day of September, 2020.
 7                                               MICHAEL BAILEY
                                                 United States Attorney
 8                                               District of Arizona
 9                                               s/ Andrew C. Stone_____
                                                 KEVIN M. RAPP
10                                               MARGARET PERLMETER
                                                 PETER S. KOZINETS
11                                               ANDREW C. STONE
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13                                               BRIAN C. RABBITT
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15                                               REGINALD E. JONES
16                                               Senior Trial Attorney
                                                 U.S. Department of Justice, Criminal Division
17                                               Child Exploitation and Obscenity Section

18                                 CERTIFICATE OF SERVICE
19          I hereby certify that on September 11, 2020, I electronically transmitted the attached
20   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
21   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
22   as counsel of record.
23   s/ Joy Faraj
24   U.S. Attorney’s Office

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